                 Case 2:98-cr-00034-LGW-JEG Document 506 Filed 02/28/08 Page 1 of 1
%AO 247 (02.08) Order Regarding Motion for Sentence Reductio n


                                        UNITED STATES DISTRICT COURT
                                                                   for the                                                FILED COUR
                                                                                                              U .S, ' -
                                                         Southern District of Georgia                                                  T

                    United States of Americ a                                                                7006 FEB 21 P : 5 2
                                   V.
                                                                         Case No : CR298-00034-00 8
                         Willie James Brown
                                                                         USMNo : 09889-02 1
Date of Previous Judgment : December 4, 1998                             Robert H . Baer
(Use Date of Last Amended Judgment if Applicable)                        Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C . § 3582(c)(2)

        Upon motion of Q the defendant Q the Director of the Bureau of Prisons NQ the court under 18 U. S .C .
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U .S .C .
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is :
          D DENIED . GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                      the last judgment issued ) of 151        months is reduced to   time served, plus 10 days

1 . COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures )
Previous Offense Level :                32                               Amended Offense Level :            30
Criminal History Category :             III                              Criminal History Category :        III
Previous Guideline Range :              151     to 188      months Amended Guideline Range :                 121      to 151     months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
J The reduced sentence is within the amended guideline range .
Q The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain) :




III . ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated               December 4, 1998         shall remain in effect .
IT IS SO ORDERED .

Order Date: February 27, 2008
                                                                                                Judge' s signature


Effective Date :       2 - 2 ? - 01E~                                                     Judge, U .S . District Cour t
                       (if different from order date) Printed name and title
